538 U.S. 1030
    GRAVESv.WORKERS' COMPENSATION APPEALS BOARD ET AL.
    No. 02-9505.
    Supreme Court of United States.
    May 19, 2003.
    
      1
      CERTIORARI TO THE COURT OF APPEALS OF CALIFORNIA FOR THE FIRST APPELLATE DISTRICT.
    
    
      2
      Ct. App. Cal., 1st App. Dist.; Motions of petitioners for leave to proceed in forma pauperis denied. Petitioners are allowed until June 9, 2003, within which to pay the docketing fees required by Rule 38(a) and to submit petitions in compliance with Rule 33.1 of the Rules of this Court.
    
    